Case 4:21-cr-00010-AW-MAF Document1 Filed 01/14/21 Pagei1ofi1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of Florida

United States of America )
v. )
DANIEL ALAN BAKER ) Case No. .
) 4:21mj9-MAF
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 12-14, 2021 in the county of Leon in the
Northern District of Florida , the defendant(s) violated:
Code Section Offense Description
Title 18, U.S.C., § 875(c) Transmission In Interstate Commerce A Communication Containing A Threat

To Kidnap Any Person Or Threat To Injure The Person of Another

This criminal complaint is based on these facts:

See attached affidavit of Federal Bureau of Investigation Special Agent Nicholas Marti, which is incorporated herein by
reference.

# Continued on the attached sheet.

Complainant’s signature

Nicholas Marti, FBI Special Agent

Printed name and title.

Sworn to before me and signed in my presence.

“) —

Judge’s signature

City and state: Tallahassee, Florida CHARLES A. STAMPELOS, U.S. Magistrate Judge

Printed name and title

